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 1                          UNITED STATES DISTRICT COURT
 2                          EASTERN DISTRICT OF MISSOURI
 3

 4   VIOLET LIM,                                   Case No.:
 5                  Plaintiff,
 6                                                 COMPLAINT AND JURY
     vs.                                           DEMAND
 7

 8   CAPITAL ONE BANK (USA), N.A.,
 9                  Defendant
10
                                           COMPLAINT
11

12                  Plaintiff, VIOLET LIM (“Plaintiff”), by and through her undersigned
13
     counsel, hereby sues Defendant, CAPITAL ONE BANK (USA), N.A.
14
     (“Defendant”), alleging as follows:
15

16                                    I.    INTRODUCTION
17
           1. Plaintiff brings this action on behalf of himself individually seeking damages
18

19   and any other available legal or equitable remedies resulting from the illegal actions
20
     of Defendant, in negligently, knowingly, and/or willfully contacting Plaintiff on
21
     Plaintiff’s cellular telephone in violation of the Telephone Consumer Protection Act
22

23   (“TCPA”), 47 U.S.C. § 227 et seq.
24
           2. The TCPA was legislated to prevent companies like CAPITAL ONE BANK
25

26   (USA), N.A. from invading Americans’ privacy by stopping abusive “robo-calls.”
27
     The legislative history “described these calls as ‘the scourge of modern civilization,
28
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 1   they wake us up in the morning; they interrupt our dinner at night; they force the
 2
     sick and elderly out of bed; they hound us until we want to rip the telephone out of
 3

 4   the wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to
 5
     give telephone subscribers another option: telling the autodialers to simply stop
 6

 7
     calling.” Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1255-56 (11th Cir.

 8   2014).
 9
                             II.    JURISDICTION AND VENUE
10

11      3. Jurisdiction of this Court arises under 28 U.S.C. §1331 and 47 U.S.C. §
12
     227(b)(3). See Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012)
13

14
     holding that federal and state courts have concurrent jurisdiction over private suits

15   arising under the TCPA.
16
        4. Venue is proper in the United States District Court for the Eastern District of
17

18   Missouri pursuant to 28 U.S.C § 1391(b)(2) because Plaintiff resides within this
19
     District and a substantial part of the events or omissions giving rise to the herein
20

21
     claims occurred within this District.

22      5. The violations described in this Complaint occurred in Missouri.
23
                                         III. PARTIES
24

25      6. Plaintiff is a natural person residing in Saint Louis County, in the city of Saint
26
     Louis, Missouri and is otherwise sui juris.
27

28
        7. Defendant is a nationally chartered bank, doing business in the state of
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 1   Illinois, with its principal place of business located in McLean, Virginia.
 2
     Defendant is a “person” as defined by 47 U.S.C. §153 (39).
 3

 4      8. At all times relevant to this Complaint, Defendant has acted through its
 5
     agents, employees, officers, members, directors, heir, successors, assigns,
 6

 7
     principals, trustees, sureties, subrogees, representatives and insurers.

 8                            IV.     FACTUAL ALLEGATIONS
 9
        9. Defendant placed collection calls to Plaintiff seeking and attempting to
10

11   collect on alleged debts incurred through purchases made on credit issued by
12
     Defendant.
13

14
        10. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

15   F.3d 1265 (11th Cir. 2014).
16
        11. Defendant placed collection calls to Plaintiff’s cellular telephone at phone
17

18   number (618) XXX-6539.
19
        12. Defendant placed collection calls to Plaintiff from various telephone
20

21
     numbers including, but not limited to, (800) 955-6600.

22      13. Upon information and belief, based on the number, frequency and timing of
23
     the calls, and on Defendant’s prior business practices, Defendant’s calls were placed
24

25   with an automatic telephone dialing system or an artificial or prerecorded voice.
26

27

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 1      14. Defendant used an “automatic telephone dialing system,” as defined by 47
 2
     U.S.C. § 227(a)(1), or an artificial or prerecorded voice to place telephone calls to
 3

 4   Plaintiff seeking to collect a consumer debt allegedly owed by Plaintiff.
 5
        15. Defendant’s calls were not for emergency purposes, which would be
 6

 7
     excepted by 47 U.S.C. § 227(b)(1)(A).

 8      16. Defendant’s calls were placed to a telephone number assigned to a cellular
 9
     telephone service for which Plaintiff incurs a charge for incoming calls pursuant to
10

11   47 U.S.C. §227(b)(1).
12
        17. Defendant never received Plaintiff’s “prior express consent” to receive calls
13

14
     using an automatic telephone dialing system or an artificial or prerecorded voice on

15   her cellular telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
16
        18. On or about December 27, 2018, Plaintiff spoke with a representative of
17

18   Defendant’s company at phone number (800) 955-6600 , and told Defendant to stop
19
     calling her cellular telephone.
20

21
        19. During the December 27, 2018 conversation, Plaintiff gave Defendant her

22   full social security number and birthdate, in order to assist Defendant in identifying
23
     her and accessing her accounts before asking Defendant to stop calling her cellular
24

25   telephone.
26
        20. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her
27

28
     cellular telephone and/or to receive Defendant’s calls using an automatic telephone
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 1   dialing system or an artificial or prerecorded voice in her conversation with
 2
     Defendant’s representative on December 27, 2018.
 3

 4      21. Despite Plaintiff’s request to cease, Defendant continued to place calls to
 5
     Plaintiff’s cellular phone after December 27, 2018.
 6

 7
        22. Despite Plaintiff’s request that Defendant cease placing automated collection

 8   calls to Plaintiff via the use of an automatic telephone dialing system or an artificial
 9
     or prerecorded voice, Defendant continued to place at least One hundred and
10

11   twenty-one (121) telephone calls via the use of an automatic telephone dialing
12
     system or an artificial or prerecorded voice to Plaintiff’s cellular telephone.
13

14
        23. Defendant placed the great number of telephone calls to Plaintiff with the

15   sole intention of harassing Plaintiff in such a manner so as to cause Plaintiff to pay
16
     the alleged debt claimed by Defendant, even when Plaintiff admittedly had impaired
17

18   ability to pay. This telephonic harassment caused Plaintiff considerable anxiety and
19
     emotional distress.
20

21
                       FIRST CAUSE OF ACTION
          NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER
22               PROTECTION ACT - 47 U.S.C. §227(b)(3)(B)
23
        24. Plaintiff repeats and incorporates by reference into this cause of action the
24

25   allegations set forth above at Paragraphs 1-23.
26

27

28
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 1      25. The foregoing acts and omissions of Defendant constitute numerous and
 2
     multiple negligent violations of the TCPA, including but not limited to each and
 3

 4   every one of the above cited provisions of 47 U.S.C. § 227 et seq.
 5
        26. As a result of Defendant’s negligent violations of 47 U.S.C. §227 et seq.,
 6

 7
     Plaintiff is entitled to an award of $500.00 in statutory damages, for each and every

 8   violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
 9
        27. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the
10

11   future.
12
        WHEREFORE, Plaintiff, VIOLET LIM, respectfully requests judgment be
13

14
     entered against Defendant, CAPITAL ONE BANK (USA), N.A., as follows:

15         a.     Awarding Plaintiff statutory damages of five hundred dollars ($500.00)
16
     multiplied by the number of negligent violations of the TCPA alleged herein, to wit:
17

18   one hundered and twenty-one (121) for a total of sixty thousand five hundered
19
     dollars ($60,500.00);
20

21
           b.     Awarding Plaintiff actual damages and compensatory damages

22   according to proof at time of trial;
23
           c.     Granting Plaintiff such other and further relief as may be just and
24

25   proper.
26

27

28
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 1                    SECOND CAUSE OF ACTION
 2       KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
                    CONSUMER PROTECTION ACT
 3
                         47 U.S.C. § 227(b)(3)(C)
 4
        28. Plaintiff repeats and incorporates by reference into this cause of action the
 5
     allegations set forth above at Paragraphs 1-23.
 6

 7      29. The above listed acts and omissions of Defendant constitute numerous and
 8
     multiple knowing and/or willful violations of the TCPA, including but not limited
 9

10   to each and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
11
        30. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §
12
     227 et seq., Plaintiff is entitled an award of one thousand five hundred dollars
13

14   ($1,500.00) in statutory damages for each and every violation, pursuant to 47 U.S.C.
15
     § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
16

17      31. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the
18   future.
19
        WHEREFORE, Plaintiff, VIOLET LIM, respectfully requests judgment be
20

21   entered against Defendant, CAPITAL ONE BANK (USA), N.A., as follows:
22
           a.     Awarding Plaintiff statutory damages statutory damages of one
23

24   thousand five hundred dollars ($1,500.00) multiplied by the number of knowing
25   and/or willful violations of TCPA alleged herein, to wit: one hundered and twenty
26
     one (121) for a total of one hundred and eighty one thousand five hundered dollars
27

28   ($181,500.00);
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 1         b.     Awarding Plaintiff actual damages and compensatory damages
 2
     according to proof at time of trial;
 3

 4         c.     Granting Plaintiff such other and further relief as may be just and
 5
     proper.
 6

 7
                                    JURY TRIAL DEMAND

 8      Plaintiff demands a jury trial on all issues so triable.
 9
                                              Respectfully submitted,
10

11      Dated: August 8, 2019                 /s/ Adam T. Hill
                                              Adam T. Hill
12
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